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 1
 2                           IN THE UNITED STATES DISTRICT COURT
 3                             FOR THE DISTRICT OF PUERTO RICO
 4
 5    JONATHAN ROMAN RIVERA, et al.
 6          Plaintiffs,
 7               v.                                               Civil Action No. 09-1919 (GAG)
 8    JOSE MIRANDA DIAZ, et al.
 9          Defendants.
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11
                                         OPINION AND ORDER
12
            Plaintiff in this matter, Jonathan Roman Rivera (“Rivera” or “Plaintiff”), commenced this
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     action seeking compensatory money damages against the named defendants for alleged violations
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     of his constitutional rights stemming from his investigation, prosecution, and ultimately, conviction
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     for the murder of Adam Joel Anhang Uster.             Post-sentencing evidence was provided to
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     Commonwealth authorities by the federal government demonstrated his factual innocence and all
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     charges were ultimately dismissed. The action was brought pursuant to 42 U.S.C. §§ 1983, 1986
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     and 1988, for alleged violations of Plaintiff’s rights under the Fourth, Fifth, Eighth, Ninth, and
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     Fourteenth Amendments to the United States Constitution.            Plaintiffs further invoked the
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     supplemental jurisdiction of the court to hear and decide claims arising under the laws of Puerto
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     Rico under Article 1802 of the Civil Code of Puerto Rico, P.R. Laws Ann. tit. 31, § 5141. In
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     addition, several of Plaintiff’s family members bring federal and state law claims against defendants
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     for their own damages resulting from the actions directed against Rivera.
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            Plaintiff brought suit against Jose Miranda-Diaz, an agent in the Puerto Rico Criminal
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     Investigations Corp. who participated in the investigation; Robert Figueroa-Betancourt, Richard Roe,
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     John Doe and Police Officers A, B, and C, as participants in the investigation (collectively “Officer
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     Defendants”); Police Officers D, E, and F, as responsible for the hiring, training and supervision of
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 2   the co-defendants; and Pedro A. Toledo-Davila, Superintendent of the Puerto Rico Police
 3   Department (“PRPD”) (collectively “Supervising Officer Defendants”). Plaintiff also brought suit
 4   against Milagros Goutin, Manuel Nuñez-Corrada, Jimara Gabriel Ramos Maysonet, Sonia Otero,
 5   who were state prosecutors for the Commonwealth of Puerto Rico at the time of the complaint;
 6   Alma Mendez, Jose Capo, and Attorneys X, Y, and Z, as the district attorneys in charge of
 7   supervising the prosecutors assigned to Rivera’s case; and Roberto Sanchez-Ramos, Secretary of
 8   Justice (collectively “Prosecuting Defendants”).
 9            Presently before the court is defendants’ motion to dismiss (Docket No. 25). The motion was
10   timely opposed by Plaintiff (Docket No. 35). After reviewing the pleadings and pertinent law, the
11   court GRANTS in part and DENIES in part defendants’ motion to dismiss.
12   I.       Standard of Review
13            Under Rule 12(b)(6), a defendant may move to dismiss an action against him for failure to
14   state a claim upon which relief can be granted. See Fed.R.Civ.P. 12(b)(6). When considering a
15   motion to dismiss, the court must decide whether the complaint alleges enough facts to “raise a right
16   to relief above the speculative level.” See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 127 S. Ct.
17   1955, 1965 (2007). In so doing, the court accepts as true all well-pleaded facts and draws all
18   reasonable inferences in the plaintiff’s favor. Parker v. Hurley, 514 F.3d 87, 90 (1st Cir. 2008).
19   However, “the tenet that a court must accept as true all of the allegations contained in a complaint
20   is inapplicable to legal conclusions.” Ashcroft v. Iqbal, --- U.S. ---, 129 S.Ct. 1937, 1949 (2009).
21   “Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,
22   do not suffice.” Id. (citing Twombly, 550 U.S. at 555). “[W]here the well-pleaded facts do not
23   permit the court to infer more than the mere possibility of misconduct, the complaint has alleged
24   –but it has not ‘show[n]’– ‘that the pleader is entitled to relief.’” Iqbal, 129 S. Ct. at 1950 (quoting
25   Fed.R.Civ.P. 8(a)(2)).
26            In sum, when passing on a motion to dismiss the court must follow two principles: (1) legal
27   conclusions masquerading as factual allegations are not entitled to the presumption of truth; and (2)
28   plausibility analysis is a context-specific task that requires courts to use their judicial experience and
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 2   common sense. Id. at 1949-50 (citing Twombly, 550 U.S. at 555-56). In applying these principles,

 3   courts may first separate out merely conclusory pleadings, and then focus upon the remaining well-

 4   pleaded factual allegations to determine if they plausibly give rise to an entitlement to relief. Iqbal,

 5   129 S. Ct. at 1950.

 6   II.     Relevant Factual & Procedural Background

 7           On September 22, 2005, Mr. Adam Joel Anhang Uster (“Anhang”) was murdered.

 8   Following this incident, the PRPD launched an investigation to uncover details surrounding

 9   Anhang’s murder. Jose Miranda Diaz (“Diaz”), who is part of the PRPD Criminal Investigations

10   Corps (“CIC”), was assigned to investigate this murder. During his investigation, Diaz received

11   specific information from various sources informing him that Uster’s murder was committed by

12   Alex Pabon Colon (“Pabon”). At that time he also received a photograph of Colon as well as a

13   phone number where Colon could be reached. He further received information from other agents

14   of the CIC and through independent investigation that Plaintiff was not involved in Uster’s murder.

15           On October 12, 2005, allegedly concealing the existence of all of the aforementioned

16   intelligence, Defendants arrested Plaintiff and charged him with Anhang’s murder. Prior to his

17   criminal trial, Plaintiff’s attorney filed a discovery motion under Rule 95 of the Puerto Rico Rules

18   of Criminal Procedure, P.R. Laws Ann., tit. 34 § App. II, R. 95, which requires the District

19   Attorney’s Office to produce all existing material evidence, general and exculpatory, that would

20   assist the defense in the preparation of its case. None of the exculpatory evidence that the District

21   Attorney’s Office had obtained in their investigation was produced to the defense.

22           Plaintiff’s trial was held from September 17, 2007, until October 10, 2007. Plaintiff was

23   found guilty of murder in the first degree and was convicted to ninety-nine years for the murder

24   charge and six years for the firearms violation, both sentences to be served concurrently.

25           On June 4, 2008, the U.S. Attorney’s Office filed charges for murder and conspiracy against

26   Alex Pabon Colon and Aurea Vasquez Rijos for the murder of Uster. On June 6, 2008, the U.S.

27   Department of Justice notified and made a full disclosure to the Commonwealth of Puerto Rico

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 2   Secretary of Justice, informing that Colon had voluntarily confessed to murdering Uster. The letter

 3   further stated that Plaintiff was innocent of this crime. As a result of this information, a hearing was

 4   scheduled for June 8, 2008.

 5           Prior to the hearing, and as a result of the charge filed against Colon and Aurea Vazquez,

 6   Plaintiff filed a motion for a new trial. During the June 8th hearing, the Commonwealth of Puerto

 7   Rico Department of Justice (“PRDOJ”) insisted the Plaintiff was, in fact, guilty and convicted as

 8   charged. The PRDOJ stated that they would initiate an investigation regarding these allegations

 9   made by the U.S. Department of Justice. Pending this investigation, Plaintiff was released on bail

10   but was held under the supervision of the Commonwealth of Puerto Rico Pre-Trial Services Office.

11           On August 13, 2008, a second hearing was scheduled but was continued as the

12   Commonwealth alleged that they had not concluded their investigation. On September 15, 2008,

13   the PRDOJ requested that all charges filed against Plaintiff be dismissed.

14   III.    Discussion

15           In their opposition (Docket No. 35), Co-Plaintiffs moved to voluntarily dismiss their Puerto

16   Rico state law claims under the provisions of the Commonwealth of Puerto Rico Constitution and

17   Article 1802 of the Puerto Rico Civil Code, P.R. Laws Ann. tit. 31, § 5141., without prejudice.

18   Plaintiff also moved to voluntarily dismiss his claims under the Fifth and Ninth Amendments with

19   prejudice. In accordance with these requests, the court DISMISSES Co-Plaintiffs’ state law claims

20   without prejudice and DISMISSES Plaintiff’s Fifth and Ninth Amendment claims with prejudice.

21           A.      Co-Plaintiffs’ § 1983 claims.

22           Defendants contend that Co-Plaintiffs’ claims under § 1983 must be dismissed for failure

23   to state a claim because Co-Plaintiffs lack standing to sue under § 1983 in their personal capacities.

24   Co-Plaintiffs sole basis for their claims is derived from the alleged unconstitutional actions

25   perpetrated against their family member, Jonathon Roman Rivera.

26           A § 1983 cause of action imposes liability on state actors for conduct that subjects, or causes

27   to be subjected, the complainant to a deprivation of the rights protected under the Constitution and

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 1   Civil No. 09-1919 (GAG)                           5
 2   laws of the United States. See 42 U.S.C. §1983. “First Circuit case law holds that . . . family

 3   members cannot recover in an action brought under § 1983 for deprivation of rights secured by the

 4   federal constitution for their own damages . . . unless the unconstitutional action was aimed at the

 5   familial relationship.” Robles-Vasquez v. Tirado Garcia, 110 F.3d 204, 206 n.4 (1st Cir. 1997))

 6   (emphasis in original). “The [Supreme] Court has never held that governmental action that affects

 7   the [familial] relationship only incidentally . . . is susceptible to challenge for a violation of due

 8   process.” Valdivieso Ortiz v. Burgos, 807 F.2d 6, 8 (1st Cir. 1986).

 9          Because Co-Plaintiffs § 1983 claim is based solely upon the emotional effect that Plaintiff’s

10   alleged false arrest, incarceration, and prosecution had on his family members, Co-Plaintiffs do not

11   have standing to assert a valid claim under § 1983. See Pittsley v. Warish, 927 F.2d 3, 8 (1st Cir.

12   1991) (recognizing that “[o]nly the person toward whom the state action was directed, and not those

13   incidentally affected, may maintain a § 1983 claim.”) Co-Plaintiffs have failed to allege that any acts

14   of the appearing co-defendants were directed at them or were carried out to interfere with Co-

15   Plaintiffs’ familial relationships. The court finds that Co-Plaintiffs lack standing to bring a valid

16   claim under § 1983 and therefore DISMISSES all of Co-Plaintiffs’ § 1983 claims with prejudice.

17          B.      Rivera’s § 1983 Claims Against the Prosecuting Defendants

18          Plaintiff Rivera alleges that the Prosecuting Defendants, the various state prosecutors and

19   supervising attorneys in charge of his prosecution, failed to exercise their legal duties by

20   intentionally and recklessly failing to properly corroborate information they had received from

21   investigators prior to filing charges against Plaintiff. He further alleges that through concealment

22   and deception, these prosecutors blatantly violated Plaintiff’s constitutional rights by knowingly

23   withholding exculpatory evidence pertinent to his defense. Plaintiff alleges that these acts, all done

24   in violation of his rights under the Fourth, Eight, and Fourteenth Amendments of the U.S.

25   Constitution, resulted in his ultimate conviction and incarceration.

26          Defendants contend that Plaintiff’s § 1983 claims against the above-named defendants must

27   be dismissed, as Plaintiff has failed to state a claim upon which relief can be granted. Defendants

28   aver that absolute immunity bars suits based on individual liability against prosecutors for acts
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 2   committed while performing prosecutorial duties.

 3           The Supreme Court has held that “the same considerations of public policy that underlie the

 4   common-law rule of absolute immunity of a prosecutor from a suit for malicious prosecution

 5   likewise dictate absolute immunity under [§] 1983.” Imbler v. Pachtman, 424 U.S. 409, 409 (U.S.

 6   1976). In analyzing circuit decisions, the Imbler court held that the circuit courts were “unanimous

 7   in holding that a prosecutor enjoys absolute immunity from [§] 1983 suits for damages when he acts

 8   within the scope of his prosecutorial duties.” 424 U.S. at 420.1 The Court defined such duties as

 9   those acts “intimately associated with the judicial phase of the criminal process.” Id. at 430. The

10   First Circuit has recognized that the Imbler decision implicitly acknowledged that a prosecutor’s

11   discretion in determining what evidence must be disclosed as exculpatory is considered a

12   “prosecutorial duty,” and thus such determinations are protected by absolute immunity. See Reid

13   v. State of N.H, 56 F.3d 332, 337 (1st Cir. 1995) (citing Imbler, 424 U.S. at 425-26). Furthermore,

14   the Supreme Court has held that absolute immunity also shields supervising prosecutors from

15   individual liability for lawsuits resulting from a subordinate’s discretionary actions. See Van de

16   Kamp v. Goldstein, --- U.S. --- , 129 S.Ct 855, 863-64 (2009) (dismissing suits against supervising

17   prosecutors for failing to adequately train or supervise subordinate district attorneys).

18           Plaintiff alleges that both the prosecuting attorneys as well as the supervising members of

19   the district attorney’s office are individually liable for their deceptive acts and omissions in failing

20   to turn over exculpatory evidence, which, Plaintiff alleges, ultimately resulted in violations of his

21   constitutional rights. In his opposition, Plaintiff contends that the prosecutors’ actions in this case

22   fall outside of the ambit of those duties “intimately associated with the judicial process,” and

23   therefore do not warrant the protection of absolute immunity. However, contrary to this assertion,

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              The Imbler court recognized that the granting of absolute immunity “does leave the
26   genuinely wronged defendant without civil redress against a prosecutor whose malicious or
27   dishonest action deprives him of liberty.” 424 U.S. at 427-28. However, the court balanced this
     concern with the fear that subjecting prosecutors to individual liability for their decisions would
28   prevent them from vigorously upholding their duty to prosecute. See Id.
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 2   Plaintiff has failed to allege any of the alternate theories of liability that the Supreme Court has

 3   recognized as prosecutorial actions falling outside the umbrella of those acts protected by absolute

 4   immunity. See Id. at 861 (recognizing that “absolute immunity does not apply when a prosecutor

 5   gives advice to police during a criminal investigation . . . when the prosecutor makes statements to

 6   the press . . . or when a prosecutor acts as a complaining witness in support of a warrant

 7   application.”). Instead, the complaint only alleges that these defendants maliciously concealed

 8   exculpatory evidence that would have assisted Plaintiff in presenting an adequate defense, and

 9   continued to conceal said evidence even after Plaintiff’s conviction. Both of these allegations have

10   repeatedly been held to be insufficient to evade the protections of absolute immunity. See Reid, 56

11   F.3d at 336 (recognizing that “it is ‘now [a] well-settled rule that a prosecutor cannot be held

12   personally liable for the knowing suppression of exculpatory information.’”); see also id. (citing

13   Jones v. Shankland, 800 F.2d 77, 78-80, (6th Cir. 1986)) (applying Imbler rule “where prosecutors

14   failed to disclose exculpatory evidence specifically requested by the defense”).

15           Plaintiff’s claims against the supervising prosecutors suffer from the same infirmity. Even

16   if Plaintiff were able to prove that the failure to disclose the exculpatory evidence came from a direct

17   order from a supervising prosecutor, such orders would still be protected under absolute

18   prosecutorial immunity. See Van De Kamp, 129 S.Ct. at 863-64 (supervising prosecutors were

19   granted absolute immunity for suits arising from their subordinates failure to adequately follow rules

20   of disclosure). Therefore, Plaintiff’s allegations that the supervising District Attorney’s failed to

21   properly train their subordinates in the rules of disclosure, are insufficient to overcome the

22   protections of prosecutorial immunity.

23           For the foregoing reasons, the court finds that Plaintiff has failed to state a valid claim against

24   the Prosecuting Defendants. Therefore, the court GRANTS Defendants’ motion to dismiss, and

25   DISMISSES all of Plaintiff’s claims against the prosecuting defendants with prejudice.

26           C.      Rivera’s State Law Tort Claims Against the Prosecuting Defendants

27           Rivera also brings state law tort claims against the Prosecuting Defendants, alleging

28   violations of Article 1802 of the Civil Code of Puerto Rico. Plaintiff alleges that the Prosecuting
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 2   Defendants’ failure to disclose the exculpatory evidence constitutes tortious behavior exposing the

 3   Prosecuting Defendants to liability for the physical and emotional damages suffered by Plaintiff as

 4   a result of his malicious arrest, conviction, and incarceration.

 5           The Puerto Rico Supreme court has held that the courts of the Commonwealth should apply

 6   a conditional prosecutorial immunity when analyzing Article 1802 suits against individuals acting

 7   in a prosecutorial role. See Romero Arroyo v. E.L.A., 127 D.P.R. 724 (P.R. 1991). Therefore,

 8   Puerto Rico courts have held that under certain circumstances a prosecutor can be subject to

 9   individual liability for injuries caused while acting in their prosecutorial roles. See id. (recognizing

10   individual liability for prosecutors committing willful misconduct, fraudulent, malicious, or criminal

11   activities).

12           However, because the foundational federal claims against the Prosecuting Defendants have

13   been dismissed by this court, and the Co-Plaintiffs have voluntarily dismissed their state law claims

14   against these defendants, the court, in its discretion, chooses not to grant supplemental jurisdiction

15   over these Puerto Rico State law claims against the Prosecuting Defendants. Because it is early in

16   the litigation process and the facts surrounding the individual claims against these two defendant

17   parties are not necessarily intertwined, the court chooses to defer judgment on these state claims, as

18   it finds the courts of the Commonwealth to be a more proper forum to apply the state court created

19   conditional prosecutorial immunity. See United Mine Workers of America v. Gibbs, 383 U.S. 715,

20   (1966) (“if [considerations of judicial economy, convenience and fairness to litigants] are not present

21   a federal court should hesitate to exercise jurisdiction over state claims.”); see also Fernandez-Vargas

22   v. Pfizer Pharmaceuticals, Inc., 394 F. Supp. 2d 407, 416 (D.P.R. 2005) (declining to exercise

23   supplemental jurisdiction over state law claims against two different defendants for two distinct

24   acts). Therefore, the court DISMISSES the state law claims against the Prosecuting Defendants

25   without prejudice.

26           D.      Rivera’s Claims Against the Officer Defendants

27           Plaintiff alleges that the officers assigned to investigate Uster’s murder maliciously concealed

28   pertinent and exculpatory evidence that, if disclosed, would have absolved Plaintiff of all crimes and
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 1   Civil No. 09-1919 (GAG)                            9

 2   identified Colon as Uster’s murderer. Plaintiff avers that this evidence was critical in presenting an

 3   effective defense and its illicit concealment ultimately resulted in his arrest, conviction, and

 4   incarceration. Plaintiff alleges that these actions were violative of § 1983 as well as Puerto Rico

 5   state tort law.

 6           In order to state a valid claim under § 1983 Plaintiff must allege (1) that the conduct

 7   complained of was committed by a person acting under the color of state law; (2) that the conduct

 8   deprived plaintiff of rights, privileges or immunities secured by the Constitution or laws of the

 9   United States; and (3) that there is a causal connection between the specific defendant being sued

10   and the deprivation of rights. See Parrat v. Taylor, 451 U.S. 527, 535 (1981). In his complaint,

11   Plaintiff avers that the Officer Defendants’ actions resulted in violations of his rights protected under

12   the Fourth, Eigth, and Fourteenth Amendments to the U.S. Constitution. In considering whether

13   Plaintiff has formulated a valid claim, the court will consider each of these allegations separately.

14                     1.    Fourteenth Amendment Violation

15           Plaintiff alleges a violation of his due process rights under the Fourteenth Amendment. The

16   due process clause of the Fourteenth Amendment can be applied either under a procedural due

17   process or substantive due process framework. See Senra v. Cunningham, 9 F.3d 168, 173 (1st Cir.

18   1993). In Albright v. Oliver, 510 U.S. 266, 274-75 (1994), the Supreme Court specifically excluded

19   substantive due process as the basis for a § 1983 claims based on a malicious prosecution claim.

20   Similarly, the First Circuit has held that a procedural due process claim is not actionable unless no

21   adequate post-deprivation remedy is available under state law. See Perez-Ruiz v. Creso-Guillen, 25

22   F.3d 40, 42 (1st Cir. 1994). Therefore, the availability of an adequate remedy for malicious

23   prosecution under commonwealth law, see P.R.Laws Ann. tit. 31, § 5141 (1991), is fatal to

24   Plaintiff’s procedural due process claim. See Torres v. Superintendent of Police of Puerto Rico, 893

25   F.2d 404, 411 (1st Cir. 1990). As such, the court DISMISSES Plaintiff’s § 1983 premised upon his

26   Fourteenth Amendment violation claims.

27                     2.    Eighth Amendment Violation

28           When alleging a violation of the rights protected by the Eighth Amendment, a plaintiff must
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 2   allege an injury that has occurred “after the State has complied with the constitutional guarantees

 3   traditionally associated with criminal prosecutions.” City of Revere v. Massachusetts Gen. Hosp.,

 4   463 U.S. 239, 244 (1983) (quoting Ingraham v. Wright, 430 U.S. 651, 671-72 n. 40 (1977)). As a

 5   matter of law, the Eighth Amendment’s protection against cruel and unusual punishment only applies

 6   where a plaintiff is a prisoner during the alleged incident. Torres-Viera v. Laboy -Alvarado, 311

 7   F.3d 105, 107 (1st Cir. 2002).

 8          Defendants contend that Plaintiff has failed to state a claim under the Eighth Amendment

 9   because he was not a prisoner at the time of the alleged incidents. Plaintiff alleges that the Officer

10   Defendants’ failure to disclose exculpatory evidence resulted in his continued incarceration

11   following his conviction for the murder of Uster. Therefore, contrary to Defendants’ assertions, it

12   is clear that Plaintiff was, in fact, a prisoner at the time of the alleged violations. Regardless,

13   Plaintiff is unable to state a valid § 1983 claim based on a violation of his Eighth Amendment rights.

14   The Eighth Amendment protects prisoners from cruel and unusual punishment in the conditions of

15   confinement. See Garcia Rodriguez v. Andreu Garcia, 403 F. Supp. 2d 174, 178 (D.P.R. 2005).

16   Plaintiff fails to establish an Eighth Amendment claim as his complaint contains no allegations

17   regarding the conditions of his confinement. See Id. (dismissing Eighth Amendment claims where

18   Plaintiff failed to make allegations regarding conditions of confinement). As such, the court

19   DISMISSES Plaintiff’s § 1983 premised upon his Eighth Amendment violation claims.

20                  3.      Fourth Amendment Violation

21          “In the First Circuit, ‘it is an open question whether the Constitution permits the assertion

22   of a section 1983 claim for malicious prosecution on the basis of an alleged Fourth Amendment

23   violation.’” Rodriguez-Esteras v. Solivan-Diaz, 266 F. Supp. 2d 270, 280 (D.P.R. 2003) (quoting

24   Nieves v. McSweeney, 241 F.3d 46, 54 (1st Cir. 2001)). However, “the First Circuit has assumed

25   that such a claim, under the right circumstances, would be valid.” Id.; see also Britton v. Maloney,

26   196 F.3d 24, 28 (1st Cir. 1999) (recognizing circuit consensus that “state actors who pursue

27   malicious prosecutions against others may be held to have violated the Fourth Amendment, thereby

28   risking the imposition of liability under 42 U.S.C. § 1983.").
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            In Britton,196 F.3d at 28, the First Circuit assumed for purposes of its analysis that such a
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     claim would be valid, however found the plaintiff’s § 1983 claim insufficient, as he had not suffered
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     a “seizure” that imposed any restrictions on his liberty. Contrary to the facts of Britton, Rivera was
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     arrested and detained prior to his trial and was subsequently incarcerated for eight months as a result
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     of the alleged malicious prosecution, the success of which was allegedly predicated upon the illicit
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     concealment of evidence that would have exculpated Rivera and negated the probable cause for his
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     arrest. In Rodriguez-Esteras, 266 F. Supp. 2d at 280, the First Circuit found the plaintiff’s contention
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     that he was detained pursuant to improper criminal proceedings sufficient to state a violation of
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     malicious prosecution under the Fourth Amendment. According to the complaint in that case, the
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     plaintiff’s detention was predicated upon the investigating officers’ failure to divulge exculpatory
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     evidence. See Id. Based on this caselaw, Rivera’s allegations are sufficient to overcome the
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     recognized deficiencies of the complaint in Britton.
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            Defendants also aver that Plaintiff’s Fourth Amendment claim is insufficient, because he has
14
     failed to allege a lack of probable cause underlying his claim of malicious prosecution. See Roche
15
     v. John Hancock Mutual Life Insurance, 81 F.3d 249, 254 (1st Cir. 1996) (recognizing that “if
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     probable cause to arrest and prosecute [the plaintiff] existed, no unconstitutional deprivation
17
     occurred.”). In his complaint, Plaintiff contends that the investigating officers concealed evidence
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     that “discarded Jonathan Roman Rivera as the murderer.” (Docket No. 25 ¶ 34). The court finds that
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     this allegation sufficiently pleads Plaintiff’s contention that the investigating officers’ knowledge
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     of this exculpatory evidence, negated the determination of probable cause necessary to detain and
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     prosecute Plaintiff.
22
            Based on the foregoing, the court finds that Plaintiff has sufficiently pled a § 1983 claim
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     based upon a violation of his Fourth Amendment rights and, therefore, DENIES Defendants’ motion
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     to dismiss with regard to this claim.
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                    4.      Qualified Immunity
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            Defendants contend, that even if Plaintiff has sufficiently pled a valid claim under § 1983
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     against the Officer Defendants, these defendants’ actions are immune from suit under the doctrine
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 1
     of qualified immunity.
 2
             The qualified immunity doctrine shields government officials performing “discretionary
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     functions from . . . civil damages insofar as their conduct does not violate clearly established
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     statutory or constitutional rights of which a reasonable person would not have known.” Harlow v.
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     Fitzgerald, 457 U.S. 800, 801 (1982); see also Rivera-Ramos v. Ramon, 156 F.3d 276 (1st Cir.
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     1998). “[A] defendant who claims qualified immunity must do so either [1] on the theory that the
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     asserted right is not clearly established or [2] on the theory that the conduct attributed to him satisfies
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     the test of objective legal reasonableness.” Camilo-Robles v. Hoyos, 151 F.3d 1, 7 (1st Cir. 1998).
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             In Rodriguez-Esteras, the First Circuit answered the issue of qualified immunity under
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     circumstances very similar to the case at hand. In addressing the question whether a plaintiff’s
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     Fourth Amendment right to be free from malicious prosecution was clearly established when the
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     alleged violation occurred, the court held that “in light of the near unanimity among the Circuits .
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     . . we believe that a reasonably prudent state actor would have realized that failing to divulge
14
     exculpatory evidence . . . thereby causing the detention of a criminal defendant, would violate the
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     Fourth Amendment.” Rodriguez-Esteras, 266 F. Supp. 2d at 282. Therefore, in light of this
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     precedent, the court DENIES Defendant’s request to dismiss the claims against the Officer
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     Defendants based on the defense of qualified immunity.
18
             E.      Rivera’s Claims Against the Supervising Officer Defendants.
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             Rivera also brings claims against the Supervising Officer Defendants, alleging that they
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     “should have known and identified the dangerous tendencies of [the Officer Defendants] to act
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     unlawfully and contrary to the civil and constitutional rights of the citizens of Puerto Rico.” (Docket.
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     No. 1 ¶ 41). Plaintiff also alleges that the Supervising Officer Defendants “knew that these officers
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     had received inadequate and deficient training with respect to the carrying out of their duties.”
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     (Docket No. 1 ¶ 41).
25
             In cases where the plaintiff alleges that a supervisor’s conduct has caused a constitutional
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     deprivation, the Supreme Court has firmly rejected respondeat superior as a basis for the liability
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     of supervisory officials. See Votour v. Vitale, 761 F.2d 812, 819 (1st. Cir. 1985) (citing Monell v.
28
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     Department of Social Services, 436 U.S. 658, 694 (1978)). Plaintiffs asserting such a claim must
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     show that each defendants’ acts or omissions directly caused the deprivation of the rights at issue.
 3
     See Cepedo-Rivera v. Fagundo, 414 F.3d 124, 129 (1st. Cir. 2005) (citing Febus-Rodriguez v.
 4
     Betancourt-Lebron, 14 F.3d 87, 91-92 (1st. Cir. 1994)). Absent direct participation, a supervisor
 5
     may only be held liable where “(1) the behavior of his subordinates results in a constitutional
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     violation, and (2) the supervisor's action or inaction was affirmatively linked to that behavior in the
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     sense that it could be characterized as supervisory encouragement, condonation or acquiescence or
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     gross negligence amounting to deliberate indifference.” Pineda v. Toomey, 533 F.3d 50 (1st. Cir.
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     2008) (internal quotations omitted). “Allegations that a supervisor failed to train his subordinate
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     officers and that he should be held liable for such failure, without identifying the factual
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     underpinnings of such failure, nor identifying the causal nexus between the failed training and the
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     subordinate's misconduct, are not enough to sustain a claim of liability under Section 1983.” Rossi-
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     Cortes v. Toledo-Rivera, 540 F. Supp. 2d 318, 324 (D.P.R. 2008).
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             Plaintiff’s allegations against the Supervising Officer Defendants are insufficient to sustain
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     a claim of liability under § 1983. Plaintiff does not identify the factual underpinnings of the
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     Supervising Officers’ alleged failures to train their subordinates, nor does he state what “dangerous
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     tendencies” the Officer Defendants exhibited or how the Supervising Officers would have had
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     knowledge of these tendencies. See Rodriguez-Vazquez v. Cintron-Rodriguez, 160 F. Supp. 2d 204,
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     212 (D.P.R. 2001) (failure to allege prior wrongdoings or supervisor’s knowledge of such is fatal
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     to claim of supervisory liability under § 1983). Furthermore, Plaintiff fails to sufficiently plead the
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     causal nexus between the alleged failures to train and supervise and the actions committed by the
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     Officer Defendants. See id. (finding broad allegations of inadequate training and supervision,
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     insufficient to support claim of supervisory liability). Plaintiff's complaint essentially outlines the
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     standard used to determine whether an official is responsible under a theory of supervisory liability.
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     Such conclusory allegations are insufficient to sustain a § 1983 claim for supervisory liability. See
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     Rossi-Cortes, 540 F. Supp. 2d at 324 (citing Esteras, 266 F. Supp. 2d at 283) (recognizing that
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     “‘[b]iolerplate [sic] language’ regarding a defendant's failure to train his subordinates is insufficient
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      Case 3:09-cv-01919-GAG-JA Document 38 Filed 04/15/10 Page 14 of 14



     Civil No. 09-1919 (GAG)                         14
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     to sustain a Section 1983 claim.”).
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     IV.    Conclusion
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            For the foregoing reasons, the court GRANTS in part and DENIES in part Defendants’
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     motion to dismiss. The only claims remaining before this court are Plaintiff’s §1983 claims against
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     the Officer Defendants based on violations of his Fourth Amendment rights and Plaintiff’s state law
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     tort claims against the Officer Defendants. All claims against the Supervising Officer Defendants
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     are DISMISSED with prejudice. Plaintiff’s state law claims against the Prosecuting Defendants,
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     and Co-Plaintiff ‘s state law claims against the Officer Defendants and Prosecuting Defendants are
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     DISMISSED without prejudice. All other claims are DISMISSED with prejudice.
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     SO ORDERED
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            In San Juan, Puerto Rico this 15th day of April, 2010.
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                                                                     S/Gustavo A. Gelpí
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                                                                 GUSTAVO A. GELPÍ
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                                                              United States District Judge
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